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             IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                       NO. 4:05CR00305-038 SWW

MACK MONROE WEST




                                  ORDER
      Upon the government’s motion to dismiss the indictment against the

above defendant, and for good cause shown,

      IT IS ORDERED that the government’s motion is granted, and the

indictment pending in this case hereby is dismissed with prejudice as it

pertains to defendant Mack Monroe West only.

      Dated this 20th day of June, 2006.



                                          /s/Susan Webber Wright

                                          UNITED STATES DISTRICT JUDGE
